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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-0374V
                                          UNPUBLISHED


    CHARLES MOTSETT,                                            Chief Special Master Corcoran

                         Petitioner,                            Filed: November 23, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Guillain-
                                                                Barre Syndrome (GBS)
                         Respondent.


Leigh Finfer, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Mollie Danielle Gorney, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES 1

       On April 2, 2020, Charles Motsett filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barré Syndrome (GBS) as a
result of an influenza (“flu”) vaccine administered to him on November 8, 2018. Petition
at 1. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

       On January 4, 2021, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for GBS. On November 23, 2021, Respondent filed a proffer on award
of compensation (“Proffer”) indicating Petitioner should be awarded $130,888.20,
consisting of: (1) $127,500.00 in pain and suffering and (2) $3,388.20 in past
unreimbursable expenses. Proffer at 1-2.

1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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      In the Proffer, Respondent represented that Petitioner agrees with the proffered
award. Id. at 2. Based on the record as a whole, I find that Petitioner is entitled to an
award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $130,888.20 in the form of a check payable to Petitioner. This
amount represents compensation for all damages that would be available under Section
15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

                                                     )
 CHARLES MOTSETT,                                    )
                                                     )
                Petitioner,                          )
                                                     )   No. 20-374V
 v.                                                  )   Chief Special Master Corcoran
                                                     )   ECF
 SECRETARY OF HEALTH AND HUMAN                       )
 SERVICES,                                           )
                                                     )
                Respondent.                          )
                                                     )

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On April 2, 2020, Charles Motsett (“petitioner”) filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (“Vaccine Act”

or “Act”), alleging that he suffered from Guillain-Barré syndrome (“GBS”), as defined in the

Vaccine Injury Table, following administration of an influenza vaccine he received on

November 8, 2018. Petition at 1. On December 30, 2020, the Secretary of Health and Human

Services (“respondent”) filed a Rule 4(c) Report indicating that this case is appropriate for

compensation under the terms of the Act for a GBS Table injury. ECF No. 25. On January 4,

2021, the Chief Special Master issued a Ruling on Entitlement finding petitioner entitled to

compensation. ECF No. 27.

Items of Compensation

       A.      Pain and Suffering

       Respondent proffers that petitioner should be awarded $127,500.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.
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       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents that he incurred past unreimbursable expenses

related to his vaccine-related injury. Respondent proffers that petitioner should be awarded past

unreimbursable expenses in the amount of $3,388.20. See 42 U.S.C. § 300aa-15(a)(1)(B).

Petitioner agrees.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following 1: a lump sum payment of $130,888.20, in the form of

a check payable to petitioner.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Charles Motsett:                             $130,888.20

                                              Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Acting Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              HEATHER L. PEARLMAN
                                              Deputy Director
                                              Torts Branch, Civil Division


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  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
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                                  DARRYL R. WISHARD
                                  Assistant Director
                                  Torts Branch, Civil Division

                                  /s/ Mollie D. Gorney
                                  MOLLIE D. GORNEY
                                  Trial Attorney
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DATED: November 23, 2021




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